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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )      Case No. 4:16CR00528 AGF (PLC)
                                          )
TODD BECKMAN,                             )
                                          )
       Defendant.                         )

                                         ORDER

       This matter is before the Court on Defendant Todd Beckman’s motion to suppress

statements and evidence (ECF No. 104) and amended motion to suppress statements and

evidence (ECF No. 107). Pursuant to 28 U.S.C. ' 636(b), the motions were referred to

United States Magistrate Patricia L. Cohen.

       An evidentiary hearing was held on March 30, 2017. The Government presented

three law enforcement witnesses, and Defendant presented one witness, attorney Grant

Boyd. Following receipt of the transcript, the parties were provided the opportunity to file

post-hearing briefs. Defendant elected not to file a post-hearing brief, and the government

filed a post-hearing brief on May 2, 2017. On June 1, 2017, Magistrate Judge Cohen

issued a Report and Recommendation (ECF No. 143), recommending Defendant’s original

Motion to Suppress Statements and Evidence be denied as moot, and that Defendant’s

Amended Motion to Suppress Statements and Evidence be Denied. Defendant has not

filed any objections to the Report and Recommendation, and his time for doing so has
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passed.

       The Court has reviewed the testimony and exhibits admitted at the hearing. After

careful consideration, the Court will adopt and sustain the findings of fact and thorough

reasoning of Magistrate Judge Cohen set forth in support of her recommended rulings

issued on June 1, 2017.

       Accordingly,

       IT IS HEREBY ORDERED that the Report and Recommendation of the United

States Magistrate Judge [ECF No. 143] is SUSTAINED, ADOPTED, and

INCORPORATED herein

       IT IS FURTHER ORDERED that Defendant’s Motion to Suppress Statements

and Evidence [ECF No. 104] is DENIED as moot, and Defendant’s Amended Motion to

Suppress Statements and Evidence [ECF No. 107] is DENIED.



                                          ________________________________
                                          AUDREY G. FLEISSIG
                                          UNITED STATES DISTRICT JUDGE


Dated this 28th day of June, 2017.




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